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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) SHANE NORRID, individually and            )
on behalf of all others similarly situated,   )
(2) KERMIT MICHAEL TROXEL,                    )
Individually and on behalf of all others      )
similarly situated,                           )
(3) KEVIN HARTMAN, individually               )
and on behalf of all others similarly         )
situated,                                     )
(4) TIM HYERS, individually and on            )
behalf of all others similarly situated,      )
(5) CHRISTOPHER LYNN WILLIAMS,                )
individually and on behalf of all others      )
similarly situated,                           )
(6) CODIE SHREVE, individually and            )
on behalf of all others similarly situated,   )
(7) STEVEN ENGLAND, individually              )
and on behalf of all others similarly         )
situated                                      )
                                              )
       Plaintiffs,                            )
                                              )      Case No. 17-cv-401-RAW
       v.                                     )
                                              )
(1) D.A.R.P., INC., an Oklahoma not for       )
profit corporation,                           )
(2) RAYMOND JONES,                            )
(3) Hendren Plastics, Inc., an                )
Arkansas for profit corporation,              )
(4) R & R ENGINEERING CO., INC.,              )
an Oklahoma for profit corporation,           )
(5) GLENN E. WHITMAN,                         )
(6) SIMMONS FOODS, INC., an                   )
Arkansas for profit corporation, and          )
(7) WESTERN ALLIANCE, INC.                    )
(formerly JER-CO INDUSTRIES, INC.),           )
an Oklahoma for profit corporation            )
                                              )
       Defendants.                            )

            DEFENDANT HENDREN PLASTICS, INC. REPLY IN SUPPORT OF
                 MOTION TO DISMISS PLAINTIFFS’ RICO CLAIMS
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        In support of its Motion to Dismiss Plaintiffs’ RICO Claims (Doc. 105), Defendant

Hendren Plastics, Inc. (“Hendren”), submits the following Reply pursuant to LCvR 7.1(e).

               I.      HENDREN’S MOTION TO DISMISS IS PERMISSIBLE

        Plaintiffs complain that Hendren’s Motion to Dismiss Plaintiffs’ RICO Claims is impermissible

because 1) Hendren has already filed an Answer to Plaintiffs’ Complaint and 2) because Hendren

previously filed a Motion to Dismiss on the basis of lack of personal jurisdiction. Neither of these facts

prohibits Hendren from filing its Motion in response to Plaintiffs’ RICO Statement.

        Hendren filed its Answer before Plaintiffs filed their RICO Case Statement. The RICO Case

statement contained allegations which were not contained in the Amended Complaint and is comparable

to a more definite statement under FRCP 12(e). In this instance, the request for a more definite statement

was not made by a party, but was ordered by the Court on its own initiative. Because of the complexity

of RICO claims, some districts have adopted standing orders requiring the filing of RICO case statements

within a certain period of time once the complaint is filed. See e.g. Price v. Pinnacle Brands, Inc., 138

F.3d 602, 605 (5th Cir. 1998); Lui Ciro, Inc. v. Circo Inc., 895 F. Supp. 1365, 1377 (D. Haw. 1995).

Other districts, however, only require a RICO statement where the court determines that such a statement

is necessary. See e.g. Office Outfitters, Inc. v. A.B. Dick Co., Inc., 83 F. Supp. 2d 772, 775 (E.D. Tex.

2000) (noting, after hearing on defendant’s motion to dismiss, the magistrate judge recommended

plaintiffs file RICO case statement and defendants be allowed to renew their motions once the statement

was filed). The Court in this case determined that a RICO statement was necessary and entered its Order

directing the filing of the statement on April 3, 2018. Accordingly, although Hendren had already filed an

Answer, Plaintiffs’ RICO statements made new allegations to which Hendren was entitled to respond.

        Plaintiffs opine that Hendren is not permitted to file a responsive motion to their RICO statement

because the RICO statement is not specifically listed as a “pleading” in FRCP 7(a). There is no explicit

authority for courts to order the filing of a RICO statement, however almost all jurisdictions allow for

such orders. Similarly, the fact that “Rico Statement” is not listed under FRCP 7(a) does not render it an



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impermissible pleading, or even a non-pleading. Courts generally have considered the RICO case

statement as part of the pleadings. Manual for Complex Litigation, Fourth, §35.31. “Requiring the

plaintiff to file a RICO case statement will assist the court when ruling on motions under Rule 12 and

Rule 9(b)…In ruling on motions under Rule 12, courts have considered the facts stated in the RICO case

statement in conjunction with the allegations of the complaint. The RICO case statement, together with a

reading of the complaint, will help narrow the issues and identify claims that lack merit, which can then

be dismissed (with or without prejudice) before significant time and effort is spent.” Id.     Permitting a

Motion to Dismiss based upon allegations contained in the RICO Statement serves the purpose for which

the RICO statement was ordered, to wit: narrowing the issues and determining the legal sufficiency of

Plaintiffs’ claims. Furthermore, it is of no consequence that the Court’s order did not explicitly reference

Hendren’s ability to file a responsive pleading; the RICO Statement contains factual allegations and legal

claims which were not contained in the Amended Complaint (similar to a more definite statement or a

second amended complaint), and Hendren is entitled to respond to such a pleading.

        Plaintiffs additionally argue that Hendren’s Motion to Dismiss is not permitted because Hendren

previously filed a Motion to Dismiss based upon lack of personal jurisdiction. In support of this

argument, Plaintiffs cite to FRCP 12(g) which prohibits a party from making another motion under Rule

12 and “raising a defense or objection that was available to the party but omitted from its earlier motion,”

“except as provided in Rule 12(h)(2) or (3).” After Plaintiffs filed their RICO Statement, Hendren had a

more detailed statement of Plaintiffs’ RICO allegations; this is information Hendren did not have when it

filed its first Motion to Dismiss on personal jurisdiction, therefore it is not an objection which was

“available… but omitted from its earlier motion.”

        Plaintiffs refer to the Advisory Committee’s note which states that, “if the defendant moves

before answer to dismiss the complaint for failure to state a claim, he is barred from making a further

motion presenting the defense of improper venue, if that defense was available to him when he made his

original motion.” (Doc. 109, f.n.2). This comparison is inapplicable; pursuant to 12(h), a motion to

dismiss for improper venue is waived if it is omitted from an initial motion or from the responsive

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pleading.     However, pursuant to 12(h), a 12(b)(6) motion to dismiss is not waived under these

circumstances. Furthermore, the exceptions in 12(h)(2) do apply. Rule 12(h)(2)(A) allows a party to file

a motion to dismiss for failure to state a claim in any pleading allowed or ordered under Rule 7(a). As

discussed above, under federal practice, the RICO statement qualifies as a pleading and a motion to

dismiss filed in response is therefore permissible, despite Hendren having filed a previous Motion to

Dismiss regarding personal jurisdiction.

        Plaintiffs allege that Hendren’s Motion fails to comply with Local Rule 7.1(o) which requires an

explanation why the movant believes amendment to the complaint would be futile. Hendren’s motion

contains detailed explanations under each RICO element as to why Plaintiffs have not, and cannot allege

any facts which would cure the defects in their claim. Amendment of Plaintiffs’ complaint would be

futile because Plaintiffs cannot establish the elements necessary to establish a violation of 18 U.S.C.

§1962(c). For example, Plaintiffs did not sufficiently allege the existence of an association-in-fact

enterprise.   An association-in-fact requires three structural features, including a common purpose.

Plaintiffs claimed that the purpose of the alleged association-in-fact was to benefit from forced labor.

However, it is uncontested that Hendren paid for the labor it received. There is no amendment which

could cure this fundamental defect in Plaintiffs’ allegations. Each section of Hendren’s Motion to

Dismiss contains detailed statements explaining why an amendment to the complaint would be futile.

Furthermore, the Court’s order requiring the filing of the RICO Statement was a request for

supplementation; even after supplementing the Complaint, Plaintiffs have still not stated a claim under

RICO.

              II.    PLAINTIFFS HAVE FAILED TO STATE A RICO CLAIM

    A. Plaintiffs’ Have Failed to State a Cause of Action Under 18 U.S.C. §1962(c)

        Like their Complaint and RICO Statement, Plaintiffs’ Opposition to Defendant’s Motion

to Dismiss focuses heavily on the actions of DARP, not Hendren. Plaintiffs allege “DARP,

while masquerading as a treatment facility, provides no treatment, is unqualified to provide


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treatment, and is prohibited from participating in Oklahoma’s drug court system.” (Doc. 109,

p.3). They state that “DARP is not qualified to provide substance abuse treatment, and, as a non

certified facility, is prohibited from participating in the drug court system…rather than providing

treatment, DARP and Hendren usurp the proper purpose of the drug court system, and use the

threat of prison solely to compel labor for private profit.” (Doc. 109, p.4). It is unclear how the

alleged wrongdoings of DARP are transformed into “Hendren usurping the proper purpose of the

drug court system.” It appears that Plaintiffs are attempting to rope Hendren into the alleged

wrongful conduct of DARP for the sole purpose of establishing another source from which to

recover damages, notwithstanding the fact that the only act Hendren engaged in was obtaining

temporary employees, for which it paid.

        Plaintiffs attempt to make DARP’s certification and qualifications a point of contention.

However for the purpose of Hendren’s Motion to Dismiss, it is immaterial whether DARP

actually provided drug and alcohol treatment. Rather, the issue before the Court is whether

Plaintiffs have sufficiently pled a RICO claim against Hendren.

    1. Plaintiffs Have Not Sufficiently Alleged that Hendren is Engaged in an “Enterprise”

        Plaintiffs claim that Hendren has only challenged the “purpose” element required for

establishing an “association-in-fact enterprise.” Even if this is true, which it is not, only one

element need be missing in order for the claim to fail. 1 Boyle v. United States, 556 U.S. 938, 945

(2009). Plaintiffs’ claim therefore fails. Plaintiffs then state that Hendren’s argument regarding

the enterprise element is an insufficient basis to dismiss the RICO claim because the argument is

“premised on disputing the factual contentions contained in Plaintiffs’ FAC.” (Doc. 109, p. 5).


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 Two of the three elements required to establish an association-in-fact enterprise require a showing of common
purpose. Boyle v. United States, 556 U.S. 938, 945 (2009). Hendren argues that Plaintiffs have not pled facts
which plausibly establish that Hendren operated together with DARP for the “common purpose of benefitting from
forced labor and involuntary servitude” and therefore contest two of the three elements listed in Boyle.

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In order to survive a motion to dismiss under 12(b)(6), a plaintiff must allege enough facts to

“state a claim to relief that is plausible on its face.” Bell Atlantic v. Twombly, 550 U.S. 544, 570

(2007). Accordingly, a focus on the facts alleged by Plaintiffs is appropriate. If a plaintiff fails

to “nudge its claims across the line from conceivable to plausible, the complaint must be

dismissed.” Id. As set forth in Hendren’s Motion, Plaintiffs fail to nudge their claim across the

line from conceivable to plausible. For instance, it is implausible that Hendren “compelled

[Plaintiffs] to work by threat of prison” as it is the courts of Oklahoma that wield the threat of

prison, not an Arkansas corporation engaged in plastic manufacturing.             In addition, it is

undisputed that Hendren paid for the labor it received, therefore the allegation that Hendren

engaged in forced labor and involuntary servitude is also not plausible. Plaintiffs have failed to

assert plausible factual allegations in support of their claim, accordingly dismissal is proper.

   2. Plaintiffs Have Not Sufficiently Alleged that Hendren Has “Conducted” the Affairs
      of the Alleged Enterprise

       Plaintiffs state that the alleged association-in-fact enterprise “would not exist without

Hendren’s active participation.” (Doc. 109, p.8). Based upon Plaintiffs’ own allegations, this

statement is false. Plaintiffs’ Complaint originally named multiple businesses to whom DARP

supplied temporary labor, including R&R Engineering Co., Inc., Simmons Foods, Inc., Western

Alliance, Inc., and Mid-America Cabinets, Inc. (Doc. 39). Although Plaintiffs have since

dismissed the other defendants, the claims against them were based on the same set of allegations

leveled against Hendren, that is, that DARP contracted with the defendants to provide unlawful

labor. (Doc. 39). Moreover, Plaintiffs Complaint relies on DARP’s alleged failure to provide

drug and alcohol treatment and DARP’s lack of licensure; these allegations have no relation to

Hendren whatsoever. Under Plaintiffs’ own version of the facts, the alleged association-in-fact

enterprise could indeed exist without Hendren’s involvement.


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       RICO's conduct element requires a defendant to “have some part in directing [the

enterprise’s] affairs.” Reves v. Ernst & Young, 507 U.S. 170, 185 (1993). “Outsiders,” such as

Hendren, may meet the “conduct” requirement only if they “exert control over” the enterprise

such that they “conducted or participated in the conduct of the enterprise’s affairs, not just their

own affairs.” Id. at 184-85. Plaintiffs allege that Hendren’s contract with DARP, and paying

wages to DARP, constitutes sufficient “conduct.” However, contracting with a temporary labor

provider, and paying that temporary agency for said labor, is merely Hendren conducting its own

affairs. It is not exerting control over or directing an enterprise allegedly engaged in involuntary

servitude and forced labor.

   3. Plaintiffs Have Not Made A Plausible Claim that Hendren Engaged in
      “Racketeering Activity”

       A RICO violation demands proof of …the actual commission of a pattern of predicate

offenses.” Boyle v. United States, 556 U.S. 938, 950 (2009). Plaintiffs allege forced labor as a

predicate offense and claim that Hendren forced Plaintiffs’ to work “by abuse of law or legal

process.” Plaintiffs argue that, because Hendren does not provide treatment, it “necessarily uses

the Drug Court Act and the drug court process for a purpose for which they were not designed.”

(Doc. 109, p.10). This argument is nonsensical and does not support the contention that Hendren

engaged in racketeering activity. Hendren has not held itself out to be a treatment program, nor

is it required to provide treatment to Plaintiffs. As Plaintiffs point out, Hendren is a corporation

which is not involved in the court system and is therefore unable to threaten Plaintiffs with

incarceration. Moreover, Plaintiffs all entered plea deals, and agreed to engage in the drug

program, including the work component, in order to avoid incarceration.            They were not

“compelled” to work for Hendren. They chose to participate in DARP as an alternative to

incarceration and Hendren simply hired workers for its business. The facts in Vaughn v. Phoenix


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 House Programs of New York are similar to the present case. The plaintiff challenged his

 participation in a probation work program as involuntary servitude. That court noted that,

 although the plaintiff had chosen to participate in the program to avoid prison time, his

 participation was nevertheless voluntary. Vaughn v. Phoenix House Programs of New York, No.

 14-CV-3918 RA, 2015 WL 5671902, at 6 (S.D.N.Y. Sept. 25, 2015). It was also significant to

 the court in Vaughn that the plaintiff did not allege the defendants used force, restraint, or other

 method of coercion to compel him to work. (Id.).

        Both predicate offenses relied upon by Plaintiffs are part of the Trafficking Victims

 Protection Reauthorization Act (“TVPRA”). The TVPRA’s focus is on “improper threats or

 coercion,” it does not penalize “permissible warnings of adverse but legitimate consequences.”

 See Muchira v. Al-Rawaf, 850 F.3d 605, 617 (4th Cir. 2017). Although Plaintiffs could have

 faced incarceration had they chosen to leave the DARP program, this was not a threat even made

 by Hendren. In any event, it was a fact of their plea agreement. Plaintiffs’ claims that Hendren

 violated TVPRA are not supported by the uncontested facts.

    4. Plaintiffs Have Not Made a Plausible Claim That Plaintiffs Sustained Injuries
       Proximately Caused by Hendren

        Plaintiffs allege they were “injured in their business and property by being deprived of

 wages for their labor and by having their business relations impeded by unlawful conduct.” (Doc.

 100, ¶15).    Hendren paid legal wages for the labor it received. Hendren did not cause the

 injuries claimed by Plaintiffs (i.e. deprived of wages and impeding business relations). Plaintiffs

 argue their damages were caused by DARP’s, not Hendren’s, alleged failure to provide sufficient

 treatment in exchange for their labor. But even with respect to DARP, Plaintiffs had no

 expectation of wages and no business relationship to impede. Under the terms of their plea




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 agreements, Plaintiffs were required to perform work in exchange for housing and treatment.

 Plaintiffs’ alleged injuries stem from the plea agreement requirements, not Hendren’s acts.

    B. Plaintiffs Have Not Stated a Claim That Hendren Conspired to Violate 18 U.S.C. §
       1962(c) in Violation of §1962(d)

        Plaintiffs argue that, for the purpose of their conspiracy claim under 18 U.S.C. §1962(d),

 DARP is the enterprise and therefore they need not prove an association-in-fact involving

 Hendren. However the claim still fails. A conspiracy under §1962(d) requires that “each

 Defendant knowingly agreed that a conspirator would commit a violation of §1962(c). Salinas v.

 U.S., 522 U.S. 52 (1993). In U.S. v. Harris the Court noted that, although the government did

 not have to prove that defendant personally committed a predicate act, it still must prove that a

 defendant adopted the goal of furthering or facilitating the criminal endeavor, so long as that

 endeavor would, if completed, satisfy all the elements of a substantive criminal offense. U.S. v.

 Harris, 695 F.3d 1125, 1133 (2012). As set forth above and in the Motion to Dismiss, Plaintiffs

 have not plausibly alleged that Hendren knowingly agreed to engage in, further, or facilitate

 forced labor or involuntary servitude.


    C. Plaintiffs’ Claims Should Be Dismissed Because the State of Oklahoma (and its
       Agents) Are Necessary and Indispensable Parties

        Oklahoma courts refer criminal defendants to DARP and have authorized DARP as a

 participant in the drug court program. However, Plaintiffs complain that DARP was not properly

 licensed. These facts necessarily implicate the involvement of Oklahoma courts, despite the fact

 that Plaintiffs are not contesting their underlying pleas.

        Plaintiffs argue that under Rule 19, only Oklahoma can assert that it is a necessary party.

 This argument is not supported by the text of the rule. Rule 19 does not prohibit parties from

 requesting joinder of indispensable parties and does not state that only the absent party may


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 assert joinder. Additionally, the rule provides that “if a person has not been joined as required,

 the court must order that the person be made a party.” FRCP Rule 19(a)(2). Plaintiffs cite cases,

 all from other circuits, which indicate that the court may (not must) deny a motion to dismiss if

 the absent party is not the one asserting joinder. The cases Plaintiffs cite which prohibit an

 existing party from claiming an interest on an absent party’s behalf are related to Rule

 19(a)(1)(B)(i) only, and do not address remainder of Rule 19.

        Plaintiffs argue that Hendren has executed a “spectacular about-face” by asserting that

 Oklahoma is an indispensable party. However, Hendren’s Motion to dismiss is consistent with

 its previous position.   Hendren continues to maintain that it has insufficient contact with

 Oklahoma for personal jurisdiction; Hendren maintains that it is not involved in any enterprise or

 conspiracy to commit racketeering. However, Hendren asserts that, if Plaintiffs have any claims

 as alleged, those claims involve the courts of Oklahoma as a necessary party, not Hendren.

        Plaintiffs argue that DARP was not qualified to provide treatment and therefore was not

 permitted to retain their wages under 22 O.S. §471.1(G). However DARP’s retention of wages

 was either explicitly or implicitly authorized by the Oklahoma courts by virtue of the courts’

 orders transferring Plaintiffs to DARP under their respective plea agreements. Oklahoma courts

 approved and authorized the Plaintiffs’ transfer to DARP.

        Hendren had no authority or ability to require Plaintiffs to work under threat of

 incarceration, only Oklahoma courts had such authority. Plaintiffs claim that every abuse of law

 case “involves the threat of a state sanction misused by private parties” and cite to cases

 involving employers threating immigrants with deportation proceedings. The different between

 the cases relied upon by Plaintiffs and the present case is that, unlike the immigrant workers,

 Plaintiffs have already been adjudicated and sentenced. The labor complained of is a voluntary



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 component of Plaintiffs’ adjudication; Plaintiffs could have chosen incarceration in the

 alternative. It was the State of Oklahoma which gave Plaintiffs this choice and which holds the

 “coercive tools,” not Hendren. Accordingly, the cases relied upon by Plaintiffs are inapplicable.

         Plaintiffs claim that their lawsuit in no way impacts the State of Oklahoma or its agents.

 However it is not contested that Oklahoma judges and prosecutors approved and authorized

 Plaintiffs’ transfer to DARP and Plaintiffs repeatedly claim that DARP was not a licensed

 facility. These allegations necessarily lay blame on the part of the State of Oklahoma. As a

 result of their transfer by the State of Oklahoma to the “unlicensed” DARP facilities, Plaintiffs

 allege that they have been forced into involuntary servitude. State drug courts have an interest in

 the outcome of these allegations, especially as it relates to potential claims under Title 42 §1983

 which could affect state officials. Hendren had no power to force Plaintiffs to work, no power to

 revoke Plaintiffs’ probation, and no power to incarcerate any individual. It was the State of

 Oklahoma which held the power and which is the author of the labor situation decried by

 Plaintiffs.

     D. Plaintiffs’ Claims Should Be Dismissed Pursuant to Heck v. Humphrey

         Plaintiffs rely on DARP’s non-licensed status for their claims. The Oklahoma drug

 courts sent Plaintiffs to a non-licensed facility, accordingly, the conduct challenged in this case

 would render Plaintiffs’ plea agreement invalid. The proper avenue for challenging the sentence

 by the State of Oklahoma is to pursue post-conviction relief. Instead Plaintiffs pursue Hendren,

 a private corporation, to challenge the terms of their sentences over which Hendren had no

 control or influence. Under Heck v. Humphrey¸512 U.S. 477 (1994) dismissal is appropriate.

                                      III.    CONCLUSION

         Hendren requests that this Court dismiss Plaintiffs’ claims.



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                                               Respectfully submitted,


                                               FRANDEN | FARRIS | QUILLIN
                                                 GOODNIGHT + ROBERTS


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                                               Attorneys for Defendant, Hendren Plastics, Inc.

                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of June 2018, I electronically filed the forgoing with
 the Clerk of the United States District Court for the Eastern District of Oklahoma, using the
 CM/ECF system which sent notification of such filing to all CM/ECF participants of record.

                                                       /s/ Paula J. Quillin
                                                       Paula Quillin




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